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LLC

BLUE STONE STRATEGY GROUP,
LLC
a Delaware limited liability company,

Plaintiff,
V.

NIKISHNA POLEQUAPTEWA,
an individual, and DOES 1-5

Defendant.

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Attorneys for Plaintiff Blue Stone Strategy Group,

UNTIED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No.:

COMPLAINT FOR:

(1) COMPUTER FRAUD AND
ABUSE ACT;

(2) MISSAPPROPRIATION OF
TRADE SECRETS;

3) BREACH OF CONTRACT; and

4) BREACH OF THE IMPLIED
COVENANT OF GOOD FAITH
AND FAIR DEALING

DEMAND FOR JURY TRIAL

 

 

 

 

 

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JURISDICTION AND VENUE

1. This Court has subject matter jurisdiction over this Complaint under 18
U.S.C. § 1331 because the claims in this Complaint arise from the laws of the United
States.

2. This Court has subject matter jurisdiction over this Complaint under 28
U.S.C § 1367 because the claims in this Complaint are so related to the federal claims in
the Complaint that they form part of the same case or controversy under Article III of the
United States Constitution.

3. This Court has personal jurisdiction over Defendant NIKISHNA
POLEQUAPTEWA (“Polequaptewa”) because Polequaptewa is an individual residing
in Orange County, California and is located in this Court’s jurisdiction.

4. Venue is proper because a majority of the events, omissions and damages
giving rise to the Plaintiff's claims occurred in this district and this district has

jurisdiction over Plaintiffs claims.
PARTIES

5. BLUE STONE STRATEGY GROUP, LLC (“Blue Stone”) is a Delaware
limited liability company with its principal place of business in Irvine, California.

6. Polequaptewa is an individual residing in Garden Grove, California.

7. Blue Stone is ignorant of the true names and capacities of Defendants
sued herein as DOES 1-5, inclusive, and therefore sues these Defendants by such
fictitious names. Blue Stone will seek leave to amend this Complaint to allege the true
names and capacities of such fictitious Defendants when they are ascertained. Blue
Stone alleges that each of the Defendants sued herein as DOES 1-5, inclusive, is in
some manner responsible in whole or in part for the injuries which have been, are
being, and will be suffered by Blue Stone as alleged herein resulting in or contributing

to the other Defendants’ actions which are injurious to Blue Stone.

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8. Blue Stone is a consulting business that primarily provides services to
Native American tribes/nations throughout the United States. Blue Stone provides
assistance and consulting to Native American tribes/nations in the areas of
organizational management, community development, leadership planning workshops
and training, finance, master strategic planning, real estate, and tribal and corporate
governance.

9, Blue Stone has been in business for 7-8 years and has been very
successful in its consulting business.

10. As part of its consulting business, Blue Stone has developed a variety of
strategic, proprietary and trade secret information including, but not limited to,
customer and client data, including specific financial information of individual clients.

11. As part of his employment with Blue Stone, Polequaptewa had access to
this proprietary confidential, and trade secret information. Blue Stone is informed and
believes and thereon alleges that Polequaptewa transferred and/or saved its proprietary
and trade secret information onto his own personal computing devices (i.e., laptops,
iPads, and USB drives) without the permission or consent of Blue Stone.

12. Inor about April, 2014, Blue Stone retained Polequaptewa as a senior
strategist in Irvine, California. Pursuant to the Employment Agreement between
Polequaptewa and Blue Stone, Polequaptewa was to be a senior strategist in
specifically located target locations and tribal governments. Polequaptewa’s job duties
were to include, but were not limited to: business development, marketing, and project
development and management.

13. As part of his employment, Polequaptewa signed an “Employment
Agreement” with Blue Stone on or about April 16, 2014. The terms of the
Employment Agreement included the following terms:

“6. Confidentiality: [Polequaptewa] recognized that Blue Stone has

and will have information regarding the following:

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. Inventions, products, product design, processes, technical matters,

trade secrets — copyrights, customer lists, costs discounts, business

affairs, future plans.

. Other information items (collectively, “Information”) which are

valuable, special and unique assets of Blue Stone

. [Polequaptewa] agrees that he will not at any time or in any manner,

either directly or indirectly, divulge, disclose, or communicate any
Information to any third party without the prior written consent of Blue

Stone management, and

. [Polequaptewa] will protect the Information and treat it as strictly

confidential. A violation by [Polequaptewa] of this paragraph shall be
a material violation of this Employment Agreement and will justify

legal and/or equitable relief.”

The Employment Agreement also provided the following:

“7. Unauthorized Disclosure of Information: If it appears that
[Polequaptewa] has disclosed (or has threatened to disclose)
Information in violation of this Employment Agreement, Blue Stone
shall be entitled to an injunction to restrain [Polequaptewa] from
disclosing, in whole or in part, such Information, or from providing
any services to any party to whom such Information has been disclosed
or may be disclosed. Blue Stone shall be not be prohibited by this
provision from pursuing other remedies, including a claim for losses

and damages.”

The Employment Agreement also provided the following:

“16. Return of Property: Upon termination of this Employment
Agreement, [Polequaptewa] shall deliver to Blue Stone all property

that is Blue Stone’s property or related to Blue Stone’s business

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(including keys, records, notes, data, memoranda, models, and
equipment) that is in [Polequaptewa’s] possession or under
[Polequaptewa’s] control ....”
16. In addition to the Employment Agreement, [Polequaptewa] also executed
a “Mutual Nondisclosure Agreement” with Blue Stone. The pertinent terms of the

Mutual Nondisclosure Agreement are:

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“3. Non-use and Non-disclosure. Each party agrees not to use any
Confidential Information of the other party except to evaluate and
engage in discussions concerning the Opportunity. Each party agrees
not to disclose any Confidential Information of the other party, except
that, subject to Section 4 below, a receiving party may disclose the
other party’s Confidential Information to those employees of the
receiving party who are required to have the information in order to
evaluate or engage in discussions regarding the Opportunity . . ..”

4. Maintenance of Confidentiality. Each party agrees that it shall
take reasonable measures to protect the secrecy and avoid disclosure
and unauthorized use of the Confidential Information of the other
party. Without limiting the foregoing, each party shall take at least
those measures that it takes to protect its own confidential information
or similar nature, but in no case less than reasonable care (including,
without limitation, all precautions the receiving party employs with
respect to its confidential materials) . .. No party shall make any
copies of the other party’s Confidential Information except upon the
other party’s prior written approval . . ..”

7. Return of Material. All documents and other tangible objects
containing or representing Confidential Information that has been

disclosed by either party to the other party, and all copies extracts

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thereof that are in the possession of the other party, shall be and remain
the property of the disclosing party and shall be promptly returned to
the disclosing party upon the disclosing party’s written request.”

17. In the course of Polequaptewa’s employment with Blue Stone,
Polequaptewa also become knowledgeable regarding the IT infrastructure of Blue
Stone — including its databases, passwords, servers, email accounts and other electronic
information. During the course of his employment, Polequaptewa was asked to assist
in the IT maintenance of this infrastructure.

18. On or about November 2014, the CEO of Blue Stone, and others, met
with Polequaptewa to discuss IT changes at the Blue Stone, offices. During that time,
Blue Stone decided to move its IT, web-design and marketing to third party external
companies. During the meeting with Polequaptewa, Blue Stone executives asked that
Polequaptewa “turn over” all of the data needed to hand the IT, web-design and
marketing over to the third party external companies. During this meeting,
Polequaptewa was less than helpful and obstructed Blue Stone’s attempts to transfer
management of its IT infrastructure to the third party external companies. This is just
the first example of Polequaptewa failing to abide by his duties under his Employment
Agreement.

19. Onor about November 15".16th, 2014, Polequaptewa and other
employees and executives of Blue Stone traveled to Ft. Lauderdale Florida for a
conference. During the conference and in front of Blue Stone clients, Polequaptewa
abruptly announced his resignation. This was a shock to the other Blue Stone
employees and officers in attendance.

20. Shortly after Polequaptewa announced his resignation, Blue Stone
employees began to notice that data, emails, and computer files were being
deleted/transferred from Blue Stone’s databases, servers and email accounts. Via a

forensic review, Blue Stone’s IT professionals were able to ascertain that the intrusions

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were generated from IP addresses located in Ft. Lauderdale Florida. Additionally
some of the intrusions were generated from accounts and passwords associated with
Polequaptewa.

21. Sensing something amiss, Blue Stone executives contacted local law
enforcement in Ft. Lauderdale Florida, and suggested that Polequaptewa may behind
the IT intrusions and damage being caused to Blue Stone’s IT infrastructure. Florida
law enforcement went to Polequaptewa hotel room in Ft. Lauderdale Florida to
ascertain whether Polequaptewa was the cause of the disruption and damage. During
the course of their discussions with Polequaptewa, he admitted that he was accessing
Blue Stone’s IT infrasturure. Additionally at that time, Polequaptewa also admitted to
Blue Stone employees and police officers that he was accessing Blue Stone’s IT
infrastructure.

22. In total, Blue Stone determined that the data on its servers, Google Drive,
Webhosting, CRM, Chimpmail, and cox had been deleted and passwords had been
changed. Blue Stone’s independent IP professionals spent over 10 hours to get as
much of the data restored as could be accomplished. The estimated cost of such
repairs and restoration exceed $50,000.

23. Blue Stone is informed and believes and thereon alleges that
Polequaptewa accessed Blue Stone’s IT infrastructure, without authorization, and
deleted and transferred its files, misappropriated its proprietary and trade secret
information, and caused more that $50,000 in damage to its IT infrastructure.

24. Subsequently, on or about November 19, 2014 Polequaptewa came to
Blue Stone’s offices to gather his personal belongings. During the course of that time,
Polequaptewa admitted to Blue Stone personnel that he accessed, transferred and/or

deleted information from the Blue Stone IT infrastructure.

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First Cause of Action
Violation of the Computer Fraud and Abuse Act
(Against Polequaptewa)

25. Blue Stone realleges and incorporates as though fully herein the
allegations found in paragraphs 1-24 above.

26. Blue Stone’s computers, servers and IT databases are protected because
Blue Stone’s computers, servers and IT databases are used in interstate commerce and
communication.

27. Polequaptewa intentionally accessed Blue Stone’s computers, servers and
IT databases without authorization and/or exceeded his authorization to obtain files,
information and trade secrets involving interstate communications, including emails,
customer information, financial information, and other protected data to customers in
different states and tribal nations.

28. Polequaptewa knowingly accessed Blue Stone’s computers, servers,
databases and IT infrastructure with the intent to defraud and obtain confidential and
proprietary information for his own gain and/or to harm Blue Stone.

29, Polequaptewa’s unauthorized access to Blue Stone’s computers, servers
and IT databases, caused damage to Blue Stone in an amount greater that $5,000 to be
determined at trial.

30. Blue Stone now seeks general and compensatory damages injunctive
relief and other equitable relief that the Court deems proper.

Second Cause of Action
Violation of the California Uniform Trade Secret Act
(Against Polequaptewa)
31. Blue Stone realleges and incorporates as though fully herein the

allegations found in paragraphs 1-30 above.

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32. Blue Stone is the owner of confidential and proprietary information, trade
secrets, customer lists, customer financial data, and other pertinent information. This
information is not generally known to the public and has economic value.

33. Blue Stone has used reasonable efforts under the circumstances to
maintain the secrecy of its confidential and proprietary information, trade secrets,
customer lists, customer financial data, and other pertinent information, including
having its employees and third party vendors sign confidentiality agreements.

34. Polequaptewa was an employee of Blue Stone, wherein Polequaptewa
signed an Employment Agreement and Mutual Nondisclosure Agreement where
Polequaptewa agreed to keep Blue Stone’s confidential and proprietary information,
trade secrets, customer lists, customer financial data, and other pertinent information
secret. Polequaptewa also agreed that he would only use such information for
purposes of his employment with Blue Stone.

35. Polequaptewa misappropriated Blue Stone’s confidential and proprietary
information, trade secrets, customer lists, customer financial data, and other pertinent
information by improper acquisition, unconsented use and improper disclosure,
without Blue Stone’s consent. Polequaptewa misappropriated Blue Stone’s trade
secrets, customer lists, customer financial data, and other pertinent information with
knowledge that such information constitutes trade secrets and confidential information.

36. Polequaptewa improperly took and deleted information from Blue Stone’s
computers, servers, databases and email accounts without consent and with the
knowledge that such actions were wrongful.

37. Polequaptewa’s continued retention, disclosure and use of Blue Stone’s
trade secrets, customer lists, customer financial data, and other pertinent information,
as alleged herein, constitutes actual and threatened misappropriation of trade secrets

pursuant to the California Uniform Trade Secret Act.

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38. Polequaptewa’s actions were and are a substantial factor in causing harm
to Blue Stone in the form of actual damages, lost revenue, lost business, and reparative
efforts.

39. As aresult of Polequaptewa’s actions, Blue Stone has been harmed in an
amount to be proven at trial. .

40. Polequaptewa has willfully and maliciously misappropriated Blue Stone’s
trade secrets, customer lists, customer financial data, and other pertinent information.
Thus Blue Stone requests that the Court award Blue Stone exemplary damages in an
amount to be proven at trial.

Third Cause of Action
Breach of Contract
(Against Polequaptewa)

41. Blue Stone realleges and incorporates as though fully herein the
allegations found in paragraphs 1-40 above.

42. Polequaptewa entered into an Employment Agreement and Mutual
Nondisclosure Agreement(s) with Blue Stone.

43. Blue Stone has performed any and all conditions, covenants and promises
under the Employment Agreement and Mutual Nondisclosure Agreement(s) with
Polequaptewa.

44. As set for the above, Polequaptewa violated and breached the
Employment Agreement and Mutual Nondisclosure Agreement(s) by, among other
things, misappropriating trade secrets, confidential information, customer information,
customer lists, emails, and company data. Polequaptewa has also intentionally
accessed Blue Stone’s computers, servers, databases and IT infrastructure with the
intention of causing damage thereto.

45. Asa direct and proximate result of Polequaptewa’s breaches, Blue Stone

has suffered and continues to suffer damages in an amount to be proven at trial.

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46. Pursuant to the Agreements, Blue Stone is entitled to its attorney’s fees.
Fourth Cause of Action
Breach of the Implied Covenant of Good Faith and Fair Dealing
(Against Polequaptewa)

47. Blue Stone realleges and incorporates as though fully herein the
allegations found in paragraphs 1-46 above.

48. Polequaptewa entered into Employment Agreement and Mutual
Nondisclosure Agreement(s) with Blue Stone.

49. A-covenant of good faith and fair dealing is implied by law in all
contracts. The covenant requires that neither party to a contract do anything to deprive
the other of the benefit of the contract.

50. At the time that Blue Stone and Polequaptewa entered into the
Employment Agreement and Mutual Nondisclosure Agreement(s), Polequaptewa
implicitly agreed to act in good faith and deal fairly with Blue Stone.

51. Blue Stone has performed any and all conditions, covenants and promises
under the Employment Agreement and Mutual Nondisclosure Agreement(s) with
Polequaptewa

52. Polequaptewa breached his implied covenant to act in good faith and in
fact he acted in bad faith when he misappropriated trade secrets, confidential
information, customer information, customer lists, emails, and company data.
Polequaptewa also breached the implied covenant when he intentionally accessed Blue
Stone’s computers, servers, databases and IT infrastructure with the intention of
causing damage thereto.

53. Asa direct and proximate result of Polequaptewa’s breaches, Blue Stone
has suffered and continues to suffer damages in an amount to be proven at trial.

54. Pursuant to the Agreements, Blue Stone is entitled to its attorney’s fees.

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PRAYER FOR RELIEF
WHEREFOR Blue Stone prays for judgment as follows:
As to the First Cause of Action:

a. For general and compensatory damages;
b. For a preliminary and permanent injunction; and
C. For whatever relief the Court deems proper.

As to the Second Cause of Action:

a. For general and compensatory damages;

b. For a preliminary and permanent injunction;
C. For exemplary damages; and

d. For whatever relief the Court deems proper.

As to the Third Cause of Action:

a. For general and compensatory damages;
b. For attorney’s fees; and
C. For whatever relief the Court deems proper.

As to the Fourth Cause of Action:

a. For general and compensatory damages;
b. For attorney’s fees; and
C. For whatever relief the Court deems proper.
DATED: November 26, 2014 BLUE CAPITAL LAW FIRM P.C.
MATTHEW A. BERLINER
SALVATORE PICARIELLO

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Salvatore Picariello
Attomeys for Plaintiff Blue Stone Strategy
Group
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DEMAND FOR JURY TRIAL

Plaintiff Blue Stone Strategy Group, LLC hereby demands a jury trial as
provided by Rule 38(a) of the Federal Rules of Civil Procedure.

DATED: November 26, 2014 BLUE CAPITAL LAW FIRM P.C.
MATTHEW A. BERLINER
SALVATORE PICARIELLO

» Vose.,.l

 

Salvatore Picariello

Attorneys for Plaintiff Blue Stone Strategy
Group

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